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07                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
08                                       AT SEATTLE
09 UNITED STATES OF AMERICA,              )
                                          )
10         Plaintiff,                     )
                                          )              Case No. CR07-218 RSL
11         v.                             )
                                          )
12   ROTIMI TALLMAN,                      )              DETENTION ORDER
                                          )
13         Defendant.                     )
     ____________________________________ )
14
     Offense charged:
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             Count I: Possession with intent to distribute crack cocaine, in violation of 21 U.S.C. §§
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     841(a)(1), 841 (b)(1)(B), and 846.
17
             Count II: Distribution of crack cocaine in violation of 21 U.S.C. §§ 841(a) and (b)(1)(B)
18
     and Section 2.
19
     Date of Detention Hearing:      July 12, 2007
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             The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), after
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     entry of a guilty plea by defendant, and based upon the factual findings and statement of reasons
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     for detention hereafter set forth, finds:
23
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
24
             (1)      Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that defendant
25
     is a flight risk and a danger to the community based on the nature of the pending charge. The
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     DETENTION ORDER                                                                            15.13
     18 U.S.C. § 3142(i)                                                                     Rev. 1/91
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01 presumption should be applied in this case.

02          (2)    Defendant has stipulated to detention, but reserves the right to contest his
03 continued detention if there is a change in circumstances.

04          IT IS THEREFORE ORDERED:
05          (1)    Defendant shall be detained pending trial and committed to the custody of the
06                 Attorney General for confinement in a correction facility separate, to the extent
07                 practicable, from persons awaiting or serving sentences or being held in custody
08                 pending appeal;
09          (2)    Defendant shall be afforded reasonable opportunity for private consultation with
10                 counsel;
11          (3)    On order of a court of the United States or on request of an attorney for the
12                 government, the person in charge of the corrections facility in which defendant is
13                 confined shall deliver the defendant to a United States Marshal for the purpose of
14                 an appearance in connection with a court proceeding; and
15          (4)    The Clerk shall direct copies of this Order to counsel for the United States, to
16                 counsel for the defendant, to the United States Marshal, and to the United States
17                 Pretrial Services Officer.
18                 DATED this 12th day of July, 2007.



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                                                         JAMES P. DONOHUE
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                                                         United States Magistrate Judge
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     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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